          Case 2:06-cr-00199-RSM          Document 28       Filed 06/19/06     Page 1 of 3




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06
                             UNITED STATES DISTRICT COURT
07                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
08
     UNITED STATES OF AMERICA,            )
09                                        )
                 Plaintiff,               )          Case No. CR06-199-RSM-JPD
10                                        )
           v.                             )
11                                        )
     SURINDER SINGH SOHAL,                )          DETENTION ORDER
12                                        )
                 Defendant.               )
13   ____________________________________ )

14 Offenses charged:

15         Count 1: Conspiracy to Smuggle, Transport, and Harbor Illegal Aliens in violation of

16 of 8 U.S.C. §§ 1324(a)(1)(A)(i), 1324(a)(1)(A)(ii), 1324(a)(1)(A)(iii), 1324(a)(1)(A)(v)(I),

17 and 1324(a)(1)(B)(i).

18         Counts 2 through 8: Bringing an Illegal Alien for Financial Gain in violation of 8

19 U.S.C. § 1324(a)(2)(B)(ii) and 18 U.S.C. § 2.

20         Counts 9 through 16: Smuggling of an Illegal Alien in violation of 8 U.S.C. §§

21 1324(a)(1)(A)(i), 1324(a)(1)(A)(v)(II), and 1324(A)(1)(B)(i),

22         Courts 17 through 23: Transporting an Illegal Alien in violation of 8 U.S.C. §§

23 1324(a)(1)(A)(ii), 1324(a)(1)(A)(v)(II), and 1324 (a)(1)(B)(i).

24         Counts 24 through 30: Harboring an Illegal Alien in violation of 8 U.S.C. §§

25 1324(a)(1)(A)(iii), 1324(a)(1)(A)(v)(II), and 1324(a)(1)(B)(i).

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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
     PAGE 1
          Case 2:06-cr-00199-RSM            Document 28        Filed 06/19/06      Page 2 of 3




01 Detention Hearing: June 16, 2006.

02            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

03 based upon the factual findings and statement of reasons for detention hereafter set forth,

04 finds the following:

05            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

06            (1)    The defendant is charged in thirty (30) counts. Seven (7) of the counts carry

07 mandatory three-year-minimum sentences, which can be stacked, providing strong incentive

08 to flee.

09            (2)    The defendant retains strong family ties to India, and is alleged to be part of an

10 alien-smuggling ring with strong connections throughout Canada, providing incentive to flee

11 to Canada or to India, rather than facing the pending charges.

12            (3)    Based on the proffer by the government, the defendant was stopped in

13 Wyoming while transporting illegal aliens, yet continued with the same conduct for which he

14 is presently charged.

15            (4)    Based on the proffer by the government, the defendant attempted to sexually

16 assault women who were the subjects of the alleged alien-smuggling ring. This conduct

17 poses a danger not only to the community, but to potential witnesses as well.

18            (5)    There appear to be no conditions or combination of conditions other than

19 detention that will reasonably assure the defendant’s appearance at future Court hearings or

20 the safety of the community.

21            IT IS THEREFORE ORDERED:

22            (1)    Defendant shall be detained pending trial and committed to the custody

23                   of the Attorney General for confinement in a correction facility

24                   separate, to the extent practicable, from persons awaiting or serving

25                   sentences or being held in custody pending appeal;

26            (2)    Defendant shall be afforded reasonable opportunity for private

     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
     PAGE 2
         Case 2:06-cr-00199-RSM          Document 28       Filed 06/19/06      Page 3 of 3




01               consultation with counsel;

02         (3)   On order of a court of the United States or on request of an attorney for

03               the government, the person in charge of the corrections facility in

04               which defendant is confined shall deliver the defendant to a United

05               States Marshal for the purpose of an appearance in connection with a

06               court proceeding; and

07         (4)   The clerk shall direct copies of this Order to counsel for the United

08               States, to counsel for the defendant, to the United States Marshal, and

09               to the United States Pretrial Services Officer.

10         DATED this 19th day of June, 2006.

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                                                       A
                                                       JAMES P. DONOHUE
                                                       United States Magistrate Judge
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     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
     PAGE 3
